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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

  MARK J. JACOBBI
                                                           CASE NO. 3:16-cv-00129-MMH-JBT
                         Plaintiff,
         v.

  SIRIUS XM RADIO INC., et al.

                    Defendants.
  _______________________________________/


                                NOTICE OF SETTLEMENT

         Defendant Sirius XM Radio Inc. (“Sirius XM Radio”), pursuant to M.D. FL Local

  Rule 3.08(a), hereby notifies the Court that the parties have settled this matter. Sirius

  Radio XM respectfully requests a short period of time to allow the parties to finalize and

  execute the relevant settlement documents, including a Voluntary Dismissal With

  Prejudice to be filed with the Court upon execution of those documents. In addition,

  Sirius XM Radio’s response to the Complaint is currently due on April 18, 2016. [D.E.

  13] In light of the settlement, any response is unnecessary and, in order to conserve the

  Court’s and the parties’ resources, Defendant will not be filing a response on that date.
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  Dated: April 15, 2016                                Respectfully submitted,

                                                        s/ Paul C. Huck, Jr.
                                                       Paul C. Huck, Jr.
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                                                       Attorneys for Sirius XM Radio Inc.

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 15, 2016, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to all counsel or parties of record. I further certify that I mailed the

  foregoing document and the notice of electronic filing by first-class mail to the following

  non-CM/ECF participants: Mark J. Jacobbi, 1076 Durbin Parke Drive, St. Johns, FL

  32259, and also sent a courtesy copy of the same to Mr. Jacobbi via electronic mail at

  repairhouse@hotmail.com.


                                                       /s/ Paul C. Huck, Jr.
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